                       UNITED STATES DISTRICT COURT
                    WESTERN DISTRICT OF NORTH CAROLINA
                            CHARLOTTE DIVISION



UNITED STATES OF AMERICA                 )
                                         )
       v.                                )                    CASE NO. 3:07-MJ-76
                                         )
ALFREDO SUSI                             )

                                        ORDER

      The United States of America, by its counsel, having represented that it has filed in

the Western District of North Carolina a Motion for Stay of the Order of Release Pending

review and appeal, and good cause appearing therefor,

      IT IS HEREBY ORDERED that the Clerk of the Court stay the release order

pending further order of the Court.

                                             Signed: May 29, 2007




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